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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

DIAMOND RESORTS U.S. COLLECTION
DEVELOPMENT, LLC, and DIAMOND RESORTS
HAWAII COLLECTION DEVELOPMENT, LLC,

      Plaintiffs,

vs.                                          Case No.: 6:21-cv-00973-RBD-DCI


PRIMO MANAGEMENT GROUP, INC.,
ISRAEL SANCHEZ, JR.,

     Defendants.
________________________________________/

            NOTICE OF SELECTION OF AGREED MEDIATOR

      Plaintiffs, Diamond Resorts U.S. Collection Development, LLC and Diamond

Resorts Hawaii Collection Development, LLC, file this Notice of Selection of

Agreed Mediator pursuant to the Court’s September 10, 2021 Order (D.E. 22), and

respectfully state as follows:

      Counsel for all parties have agreed to mediate with Richard F. Joyce, Esq. of

Central Florida Mediators in compliance with the Middle District of Florida Local

Rules and the Court’s Orders regarding mediation.

DATED this 22nd day of September 2021.
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                                             Respectfully submitted,


                                             /s/ Julia Stepanova___________
                                             GREENSPOON MARDER, LLP
                                             Richard W. Epstein (FL Bar #229091)
                                             Jeffrey A. Backman (FL Bar #662501)
                                             Julia Stepanova (FL Bar #1021185)
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                                             Jeffrey.Backman@gmlaw.com
                                             Julia.Stepanova@gmlaw.com


                      CERTIFICATE OF CONFERENCE

      I hereby certify that counsel for Plaintiffs have conferred with counsel for

Defendants regarding the subject matter of this notice, and that Defendants’ counsel

have agreed to this notice.

                                             By: /s/ Julia Stepanova
                                                 Julia Stepanova




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                       CERTIFICATE OF SERVICE

     I hereby certify that on September 22, 2021, a true and correct copy of the

foregoing was served on all counsel of record via the Court’s Case

Management/Electronic Case Filing System, CM/ECF.

                                          By: /s/ Julia Stepanova
                                              Julia Stepanova




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